AO 442 (Rev . II II I) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                     for the

                                                           Western District of Virginia


                      United States of America
                                   V.                                  )
                                                                       )        Case No.    4: 18CR00011-011 *SEALED*
               LAQUANTETARVARESADAMS                                   )
                                                                       )
                                                                       )
                                                                       )
                               Defendant


                                                        ARREST WARRANT
To:       Any authorized Jaw enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)          Laquante Tarvares Adams
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                r£   Superseding Indictme nt       0 Information       0 Superseding Information              0 Complaint
0 Probation Violation Petition                0 Supervised Release Violation Petition         0 Violation Notice          0 Order of the Court

This offense is briefly described as follows :
  18 USC §1962 Racketeering




Date :          11 /06/2018
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City and state:          Charlottesville, Virginia                               Joel C. Hoppe, United States Magistrate Judge
                                                                                                 Printed name and title


                                                                    Return

          This warrant was received on (date)        -------------
                                                                           , and the person was arrested on (da te)
at (city and state)


Date:
                                                                                              Arresting officer's signature



                                                                                                 Printed name and title


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